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 1   NICHOLAS M. WAJDA (State Bar #259178)
     Attorney Email Address: nick@wajdalawgroup.com
 2   WAJDA LAW GROUP, APC
 3   11400 West Olympic Boulevard, Suite 200M
     Los Angeles, California 90064
 4   Telephone: (310) 997-0471
     Facsimile: (866) 286-8433
 5   Attorney for Plaintiff
 6                              UNITED STATES DISTRICT COURT
 7                           SOUTHERN DISTRICT OF CALIFORNIA
 8

 9    JOHNSON BENJAMIN and RHODE                 Case No. '19CV397 BAS RBB
      BENJAMIN,
10                                               COMPLAINT FOR DAMAGES
                       Plaintiffs,
11                                               1. VIOLATION OF THE TELEPHONE
             v.                                  CONSUMER PROTECTION ACT, 47 U.S.C.
12                                               §227 ET SEQ.
13    NAVY FEDERAL CREDIT UNION,                 2. VIOLATION OF THE ROSENTHAL FAIR
                                                 DEBT COLLECTION PRACTICES ACT,
14                     Defendant.                CAL. CIV. CODE §1788 ET SEQ.
15                                               DEMAND FOR JURY TRIAL
16

17                                          COMPLAINT
18          NOW comes JOHNSON BENJAMIN and RHODE BENJAMIN (“Plaintiffs”), by and
19
     through their attorneys, WAJDA LAW GROUP, APC (“Wajda”), complaining as to the conduct
20
     of NAVY FEDERAL CREDIT UNION (“Defendant”), as follows:
21
                                       NATURE OF THE ACTION
22
        1. Plaintiffs bring this action against Defendant pursuant to the Telephone Consumer
23
     Protection Act (“TCPA”) under 47 U.S.C. § 227 et seq., and the Rosenthal Fair Debt Collection
24

25   Practices Act (“RFDCPA”) pursuant to Cal. Civ. Code §1788, for Defendant’s unlawful conduct.

26                                    JURISDICTION AND VENUE
27

28
                                                   1
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 1       2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 47 U.S.C. § 227, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim
 4
     pursuant to 28 U.S.C. §1367.
 5
         3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conduct business
 6

 7   in the Southern District of California, and a substantial portion of the events or omissions giving

 8   rise to the claims occurred within the Southern District of California.

 9                                                  PARTIES
10
         4. Plaintiffs are consumers over 18 years-of-age residing in San Diego County, California,
11
     which is located within the Southern District of California.
12
         5. Plaintiffs are natural “person[s]” as defined by 47 U.S.C. §153(39).
13
         6. Defendant is a corporation organized under the laws of the state of Virginia, with its
14

15   principal place of business located at 820 Follin Lane, Vienna, Virginia 22180. Defendant provides

16   various banking and other financial services to consumers nationwide.
17       7. Defendant is a “person” as defined by 47 U.S.C. §153(39).
18
         8.   Defendant acted through its agents, employees, officers, members, directors, heirs,
19
     successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
20
     relevant to the instant action.
21

22                                 FACTS SUPPORTING CAUSES OF ACTION

23       9. Several years ago, Plaintiffs obtained personal financial services from Defendant.

24       10. Due to financial hardship, Plaintiffs fell behind on their scheduled payments to Defendant,
25   thus incurring debt (“subject debt”).
26
         11. On or around 2018, Plaintiffs began receiving calls to their cellular phones, (786) XXX-
27
     0404 and (786) XXX-1049, from Defendant.
28
                                                         2
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 1      12. At all times relevant to the instant action, Plaintiffs were the sole subscribers, owners, and
 2   operators of the cellular phones ending in -0404 and -1049. Plaintiffs are and always have been
 3
     financially responsible for the cellular phones and their services.
 4
        13. Defendant has used multiple phone numbers when placing collection calls to Plaintiffs’
 5
     cellular phones, including but not limited to (800) 336-3767 and (703) 255-8062.
 6

 7      14. Upon information and belief, the above referenced phone numbers are regularly utilized

 8   by Defendant during its debt collection activity.

 9      15. Upon answering calls from Defendant, Plaintiffs have experienced a significant pause,
10
     lasting several seconds in length and have to say “hello” several times, before a live representative
11
     begins to speak.
12
        16. Upon speaking with Defendant, Plaintiffs were informed that Defendant was seeking to
13
     collect upon the subject debt.
14

15      17. Plaintiffs explained their inability to address the subject debt and informed Defendant that

16   they are declaring bankruptcy.
17      18. After explaining their inability to address the subject debt, Plaintiffs asked that Defendant
18
     stop calling them, and to contact their bankruptcy attorney instead.
19
        19. Defendant willfully ignored Plaintiffs’ demands and continued placing phone calls to
20
     Plaintiffs’ cellular phones.
21

22      20. Plaintiffs have received not less than 15 phone calls from Defendant since demanding that

23   it stop contacting them.

24      21. Frustrated over Defendant’s conduct, Plaintiffs spoke with Wajda regarding their rights,
25    resulting in expenses.
26
        22. Plaintiffs have been unfairly and unnecessarily harassed by Defendant's actions.
27

28
                                                         3
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 1      23. Plaintiffs have suffered concrete harm as a result of Defendant’s actions, including but not
 2   limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional
 3
     distress, increased risk of personal injury resulting from the distraction caused by the never-ending
 4
     calls, increased usage of their telephone services, loss of cellular phone capacity, diminished
 5
     cellular phone functionality, decreased battery life on their cellular phones, and diminished space
 6

 7   for data storage on their cellular phones.

 8
               COUNT II– VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 9
        24. Plaintiffs repeat and reallege paragraphs 1 through 23 as though fully set forth herein.
10

11      25. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

12   cellular phone using an automatic telephone dialing system (“ATDS”) or prerecorded messages

13   without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment
14
     which has the capacity...to store or produce telephone numbers to be called, using a random or
15
     sequential number generator; and to dial such numbers.”
16
        26. Defendant used an ATDS in connection with its communications directed towards
17
     Plaintiffs’ cellular phones. During answered calls from Defendant, Plaintiffs experienced a
18

19   noticeable pause lasting a handful of seconds in length, and had to repeatedly say “hello” prior to

20   being connected with a live representative, which is instructive that an ATDS was being utilized to
21   generate the calls. Additionally, Defendant’s continued contacts after Plaintiffs demanded that the
22
     phone calls stop further demonstrates Defendant’s use of an ATDS. Moreover, the nature and
23
     frequency of Defendant’s contacts points to the involvement of an ATDS.
24
        27. Defendant violated the TCPA by placing at least 15 phone calls to Plaintiffs’ cellular phones
25

26   using an ATDS without their consent. Any consent Plaintiffs may have given to Defendant by

27   virtue of incurring the subject debt was explicitly revoked by their demands that it cease contacting

28   them.
                                                       4
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 1       28. The calls placed by Defendant to Plaintiffs were regarding business transactions and not for
 2   emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).
 3
         29. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiffs
 4
     for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
 5
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiffs are otherwise
 6

 7   entitled to under 47 U.S.C. § 227(b)(3)(C).

 8       WHEREFORE, Plaintiffs, JOHNSON BENJAMIN and RHODE BENJAMIN, respectfully

 9   request that this Honorable Court enter judgment in their favor as follows:
10       a. Declaring that the practices complained of herein are unlawful and violate the
11          aforementioned statutes and regulations;

12       b. Awarding Plaintiffs damages of at least $500.00 per phone call and treble damages pursuant
            to 47 U.S.C. §§ 227(b)(3)(B)&(C);
13
         c. Awarding Plaintiffs costs and reasonable attorney fees;
14

15       d. Enjoining Defendant from further contacting Plaintiffs; and

16       e. Awarding any other relief as this Honorable Court deems just and appropriate.

17
           COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
18
         30. Plaintiffs restate and reallege paragraphs 1 through 29 as though fully set forth herein.
19
         31. Plaintiffs are “person[s]” as defined by Cal. Civ. Code § 1788.2(g).
20

21       32. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)

22   and (f).
23       33. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
24
                a. Violations of RFDCPA § 1788.17
25
         34. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
26
     provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
27

28   comply with the provisions of Section 1692b to 1692j [of the Fair Debt Collection Practices Act
                                                        5
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 1   (“FDCPA”)], inclusive of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
 2   United States Code.”
 3
                        i. Violations of the FDCPA §1692c and §1692d
 4
        35. The FDCPA, pursuant to 15 U.S.C. §1692c(a)(2), prohibits a debt collector from
 5
     “communicat[ing] with a consumer in connection with the collection of a debt if the debt collector
 6

 7   knows the consumer is represented by an attorney…”

 8      36. Defendant violated c(a)(2) when it placed over 15 calls to Plaintiffs’ cellular phones after it

 9   knew that Plaintiffs were represented by an attorney.
10
        37. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in
11
     any conduct the natural consequence of which is to harass, oppress, or abuse any person in
12
     connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
13
     or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
14

15   abuse, or harass any person at the called number.”

16      38. Defendant violated §1692c(a)(1), d and d(5) when it repeatedly called Plaintiffs after being
17   notified to stop. This behavior of systematically calling Plaintiffs’ cellular phones on a systematic
18
     basis in spite of their demands was harassing and abusive. The frequency and volume of calls shows
19
     that Defendant willfully ignored Plaintiffs’ pleas with the goal of annoying and harassing them.
20
        39. Defendant was notified by Plaintiffs that its calls were not welcomed. As such, Defendant
21

22   knew that its conduct was inconvenient and harassing to Plaintiffs.

23                          ii. Violations of the FDCPA § 1692e

24      40. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
25   deceptive, or misleading representation or means in connection with the collection of any debt.”
26
        41. In addition, this section enumerates specific violations, such as:
27

28
                                                       6
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 1                 “The use of any false representation or deceptive means to collect or attempt to
                   collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
 2                 §1692e(10).

 3       42. Furthermore, Defendant violated §1692e and e(10) when it used deceptive means to collect
 4
     and/or attempt to collect the subject debt. In spite of the fact that Plaintiffs demanded that it stop
 5
     contacting them, Defendant continued to contact Plaintiffs. Instead of putting an end to this
 6
     harassing behavior, Defendant placed repeated calls to Plaintiffs’ cellular phones in a deceptive
 7

 8   attempt to force them to answer its calls and ultimately make a payment. Through its conduct,

 9   Defendant misleadingly represented to Plaintiffs that it had the legal ability to contact them after

10   Plaintiffs explained that they could not pay and to stop calling.
11                            iii. Violations of FDCPA § 1692f
12
         43. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
13
     unconscionable means to collect or attempt to collect any debt.”
14
         44. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a
15

16   debt by repeatedly calling Plaintiffs after being notified to stop. Attempting to coerce Plaintiffs

17   into payment by placing voluminous phone calls without their permission is unfair and

18   unconscionable behavior. These means employed by Defendant only served to worry and confuse
19
     Plaintiffs.
20
         45. As plead in paragraphs 20 through 23, Plaintiffs have been harmed and suffered damages
21
     as a result of Defendant’s illegal actions.
22
              WHEREFORE, Plaintiffs, JOHNSON BENJAMIN and RHODE BENJAMIN,
23

24   respectfully requests that this Honorable Court enter judgment in their favor as follows:

25       a. Declare that the practices complained of herein are unlawful and violate the aforementioned
            statute;
26
         b. Award Plaintiffs actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
27

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                                                           7
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 1     c. Award Plaintiffs statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
          1788.30(b);
 2

 3     d. Award Plaintiffs costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
          § 1788.30(c);
 4
       e. Enjoining Defendant from further contacting Plaintiffs; and
 5
       f. Award any other relief as the Honorable Court deems just and proper.
 6

 7     Dated: February 23, 2019                Respectfully submitted,
 8
                                               By: /s/ Nicholas M. Wajda
 9                                             Nicholas M. Wajda
                                               WAJDA LAW GROUP, APC
10                                             11400 West Olympic Boulevard, Suite 200M
                                               Los Angeles, California 90064
11                                             Telephone: (310) 997-0471
                                               Facsimile: (866) 286-8433
12
                                               Email: nick@wajdalawgroup.com
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